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 1                                                           The Honorable Ronald B. Leighton

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 8                             UNITED STATES DISTRICT COURT

 9                           WESTERN DISTRICT OF WASHINGTON
10    FAITH INTERNATIONAL ADOPTIONS,
      a Washington State non-profit corporation;
11    AMAZING GRACE ADOPTIONS, a North
      Carolina non-profit corporation; and
12    ADOPT ABROAD INCORPORATED, a
      Pennsylvania non-profit corporation,
13
                                                    Case No. 2:18-cv-00731-RBL
                      Plaintiffs,
14
                                                    PLAINTIFFS’ REPLY IN SUPPORT
            v.
15                                                  OF MOTION FOR PRELIMINARY
                                                    INJUNCTION
      MICHAEL R. POMPEO, Secretary for the
16    United States Department of State, in his     Noted for August 17, 2018
      official capacity; CARL C. RISCH,
17    Assistant Secretary of State for Consular
      Affairs, in his official capacity; BETH
18    PAYNE, Director of the Office of Children’s   **PLAINTIFFS WITHDRAW THEIR
      Issues, in her official capacity; UNITED
19                                                  REQUEST FOR ORAL ARGUMENT
      STATES DEPARTMENT OF STATE; and
      COUNCIL ON ACCREDITATION FOR
20    CHILDREN AND FAMILY SERVICES,
      INC.,
21
                      Defendants.
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     PLAINTIFFS’ REPLY IN SUPPORT OF
                                                            ORRICK, HERRINGTON & SUTCLIFFE LLP
     MOTION FOR PRELIMINARY INJUNCTION                             701 Fifth Avenue, Suite 5600
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 1                                             Introduction
 2          The State Department violated the IAA by directing COA to immediately terminate its

 3   review of Plaintiffs’ renewal accreditation applications. COA succinctly explained: Before this

 4   lawsuit, COA was fully prepared to decide Plaintiffs’ reaccreditation applications in a timely

 5   fashion, and in accordance with 22 C.F.R. § 96.63(c). COA stopped its review only because

 6   the State Department directed COA not to complete it. The State Department’s decision

 7   spawned this dispute. In fact, absent that action (“Directive”), the reaccreditation process

 8   would likely be complete by now.

 9          Now, Plaintiffs’ only recourse is judicial review, under either the APA or the IAA.

10   Whether the State Department’s Directive is viewed as a final agency action under the APA or

11   a debarment or cancellation under the IAA, the result is the same: the Directive was wrongful

12   and is subject to review by this Court. The plain text of the IAA and its implementing

13   regulations confirm COA’s ability and practice to defer its decisions on reaccreditation

14   applications until the review process is completed – and not have that interim deferral equate

15   to a “refusal to renew” under the IAA or otherwise be prohibited from concluding its review.

16   The plain text of the IAA and COA’s conforming historical practice of deferral both satisfy the

17   IAA’s goals of 1) ensuring a diligent and complete accreditation process which is not

18   arbitrarily rushed; and 2) ensuring the availability of deserving and qualified adoption agencies

19   for prospective adoptive parents and children. These IAA goals are consistent with a primary

20   purpose of the Hague Convention and the IAA: to promote the creation of families through

21   adoption.

22          Plaintiffs have pursued the most expeditious and indeed the sole remedy available to

23   right the wrong caused by the State Department’s Directive: an Order by this Court

24   countermanding the Directive and allowing COA to complete the accreditation renewal

25   process. Plaintiffs, COA, and the Court have completed much of this work already. COA

26   remains ready to and will finish processing Plaintiffs’ applications and the Court has entered a

27   stipulation between Plaintiffs and COA to that effect. All that remains for the Court is to

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 1   reverse the Directive, and to do so now by issuing a preliminary injunction. Absent this

 2   immediate relief, Plaintiffs will be irreparably harmed. Both the balance of equities and public

 3   interest confirm the need for the requested injunction. The Court should grant the motion.

 4                                                       Argument

 5            A        Plaintiffs Will Likely Succeed on the Merits because the State
                       Department’s Directive Violates the APA and the IAA.
 6
              Federal courts can review final agency actions under the APA, 5 U.S.C. § 702, and can
 7
     review actions taken under the IAA by the State Department. 42 U.S.C. § 14924(d). Here, the
 8
     State Department’s Directive is reviewable under one or the other – i.e., as a final agency
 9
     action under the APA or a cancellation or debarment under the IAA. Whatever the
10
     nomenclature, it is indisputable that if the State Department had not issued its Directive, COA
11
     would have completed its reaccreditation review for the Plaintiff agencies.
12
                       1        The State Department’s Directive Violates the APA.
13
                                a         The Directive was a Final Agency Action subject to Review.
14
              Judicial review under the APA requires final agency action. 5 U.S.C. § 704. The State
15
     Department agrees that a party may challenge “a final agency action” under the APA. Opp’n
16
     (Dkt. # 51) at 5. And it agrees that the APA defines “agency actions” 1 to include “the whole or
17
     a part of an agency rule, order, license, sanction, relief, or the equivalent or denial
18
     thereof . . . .” Id. (quoting the APA’s definition of “agency action” (5 U.S.C. § 551)) (emphasis
19
     added). But final agency actions are not limited to the labels in that list.
20
              Whether an agency takes a final agency action is “determined not by the name assigned
21
     by the agency to its action but ‘in a pragmatic way.’” Nat’l Automatic Laundry & Cleaning
22
     Council v. Shultz, 443 F.2d 689, 698-702 (D.C. Cir. 1971) (citation omitted). If an agency’s
23
     pronouncements or communications “hav[e] the contemplation and likely consequence of
24
     1
25    The State Department contends that its Directive was not an agency action at all, let alone a final one, but the
     case it relies on undercuts that contention. Norton v. Southern Utah Wilderness Alliance, 542 U.S. 55 (2004),
26   contrasted challenges to entire agency programs, which are not reviewable under the APA, id. at 62, with discrete
     agency actions that include but are not limited to, agency rules, orders, licenses, sanctions, relief, or “the
27   equivalent or denial thereof.” The State Department’s Directive could easily fall under several of the above
     definitions, because it was a discrete action that had legal effect and has caused legal consequences for Plaintiffs.
28   See 5 U.S.C. § 551 (defining “agency action” and its various types); Bennett v. Spear, 520 U.S. 154 (1997).
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 1   ‘expected conformity,’” then such actions are typically final agency actions. Nat’l Automatic

 2   Laundry, 443 F.2d at 698 (citations omitted) (collecting Supreme Court cases).

 3           Here, the sole action resulting in COA’s inability to complete its review of Plaintiffs’

 4   application was the State Department’s act of issuing its Directive. Before receiving the

 5   Directive, COA was nearing the end of its review process for the Plaintiff agencies and,

 6   consistent with its past practice, COA planned to defer its final decision past the accreditation

 7   expiration dates for these agencies but to continue and complete its review process. COA

 8   Resp. (Dkt. # 45) at 1; Schmidt Decl. (Dkt. # 47), ¶ 5.2 Instead, COA conformed to the State

 9   Department’s Directive and terminated its review. Id. ¶ 11. In turn, Plaintiffs have been forced

10   to conform to the State Department’s Directive: they no longer process adoptions that require

11   Hague accreditation. The State Department’s assertion that its action had no “direct

12   consequences” and was not a “final and binding determination” rings hollow, Opp’n at 7-8,

13   and its niceties of nomenclature do not alter the fact that its Directive had direct consequences

14   on Plaintiffs and was a final and binding determination on COA.

15           Bennett v. Spear, 520 U.S. 154 (1997), further establishes that the Directive constitutes

16   a final action. Although the State Department extracted the final agency action standard from

17   Bennett, it failed to address that case’s factual similarity to this one, which confirms that it

18   took a final agency action here. There, the Bureau of Reclamation (“BOR”) notified FWS that

19   BOR’s operation of a federal reclamation project might affect endangered fish. Id. at 159.

20   After being informed of BOR’s proposed action to operate the project, FWS interpreted a

21   federal statute in a biological opinion and “incidental take statement” that concluded the

22   project would jeopardize the survival of the endangered fish. Id. BOR concluded it would

23   conform the project to FWS’s biological opinion. Id. Ranchers and irrigation districts sought

24   judicial review of FWS’s opinion, because BOR’s operation of the project in conformance

25   with the biological opinion negatively affected those interested groups specifically. Id. at 159-

26   60. The Supreme Court concluded that the FWS’s biological opinion and incidental take

27   2
       By COA’s own estimation, it likely would have completed those applications by May 2018. See COA Resp. at 5
28   (estimating 45-60 days to complete processing of Plaintiffs' applications).
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 1   statement’s issuance constituted a final agency action, because they (1) were the

 2   “consummation of the agency’s decisionmaking process” and not of a “merely tentative or

 3   interlocutory nature,” id. at 178 (internal quotation marks omitted), and (2) determined rights

 4   and obligations from which “legal consequences flow[ed]” in a way that “alter[ed] the legal

 5   regime” to which the BOR was subject. Id.

 6          Here, on March 28, 2018, COA (like BOR in Bennett) informed the State Department

 7   that it had deferred decision on Plaintiffs’ accreditation renewal applications, that their

 8   accreditations would likely expire before the applications could be decided, and that COA

 9   would not transfer any accreditation materials regarding the Plaintiffs to IAAME until COA

10   had made a final decision on the applications, even beyond the accreditation expiration date.

11   Schmidt Decl., Ex. C (Dkt. # 47-3) at 4. On March 30, 2018, just one day before Plaintiffs’

12   accreditations expired, the State Department (similar to FWS in Bennett) announced in an

13   email that after March 31, COA could “no longer continue to review or make any decision in

14   relation to” Plaintiffs’ applications. Id. at 2. COA (like BOR) obeyed this Directive. On May

15   18, 2018, Plaintiffs (similar to the ranchers and irrigation districts in Bennett), as renewal

16   applicants and formerly IAA-accredited adoption agencies, sought judicial review of the State

17   Department’s Directive, because COA had acted in conformance with the State Department’s

18   Directive. COA Resp. at 5-6; Schmidt Decl. ¶¶ 4-6. Just as BOR conformed to FWS’s

19   “opinion” in Bennett, COA conformed to the State Department’s Directive. Id. ¶¶ 10, 13. And,

20   just as the final agency action at issue in Bennett was FWS’s, not BOR’s, the final agency

21   action at issue here is the State Department’s, not COA’s.

22          Similarly, applying Bennett’s two-factor test here also establishes that the State

23   Department’s Directive is a final agency action. Under Bennett, an agency action is final if it

24   “mark[s] the ‘consummation’ of the agency’s decisionmaking process . . . it must not be of a

25   merely tentative or interlocutory nature” and is one “by which ‘rights or obligations have been

26   determined,’ or from which legal consequences will flow.” 520 U.S. at 177-78. (citations

27   omitted).

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 1           First, the State Department’s Directive terminated Plaintiffs’ renewal application

 2   processes, and the decision was not tentative or interlocutory in nature. The State Department

 3   told COA to stop processing the applications, and COA complied. COA Resp. at 4; Schmidt

 4   Decl., Ex. C. The State Department’s Directive was neither tentative nor interlocutory in

 5   nature; the State Department will not allow COA to resume processing Plaintiffs’ applications

 6   despite COA’s willingness to do so. Id. The first prong of the Bennett test is satisfied.3

 7           Second, the State Department’s Directive determined Plaintiffs’ rights as accreditation

 8   renewal applicants because the State Department’s actions directly resulted in COA ceasing

 9   consideration of Plaintiffs’ applications. COA Resp. at 4; Schmidt Decl., Ex. C. Both COA’s

10   right and obligation to consider Plaintiffs’ applications and the Plaintiffs’ right to have their

11   applications considered were eviscerated. Similarly, legal consequences have followed from

12   the State Department’s Directive: Plaintiffs may not perform Hague adoptions as a result of

13   the State Department’s Directive. Like the biological opinion and incidental take statement in

14   Bennett, the State Department’s Directive altered the legal regime to which COA and Plaintiffs

15   are subject. Bennett, 520 U.S. at 178. The inevitable consequence of the State Department’s

16   “description” of the IAA’s effect on accreditation application deferrals that extend beyond

17   accreditation expiration is that accrediting entities can no longer defer accreditation renewal

18   applications beyond expiration despite contrary past practices. Compare Schmidt Decl. ¶ 5

19   (listing eight adoption agencies whose accreditations were considered after they expired). The

20   second prong of the Bennett test is satisfied.

21           Accordingly, the State Department’s Directive is a “final agency action” and is

22
     3
23     ONRC Action v. Bureau of Land Management, 150 F.3d 1132 (9th Cir. 1998), does not support the State
     Department’s argument on the first Bennett factor, because the court there reasoned that the agency’s lack of a
24   deliberative process there was more akin to a broad challenge to a general program of agency administration, id.
     at 1136, which is not the case here. Plaintiffs do not challenge the State Department’s generalized implementation
25   of the IAA. Rather, Plaintiffs challenge the State Department’s Directive, which involved specific direction to
     COA to stop processing Plaintiffs’ accreditation renewal applications. See Schmidt Decl. Ex. C. Nor does
26   Industrial Customers of Northwest Utilities v. Bonneville Power Administration, 408 F.3d 638, 644 (9th Cir.
     2005) (“ICNU”), support the State Department’s cause. ICNU involved a tentative or interlocutory decision,
27   which cannot be a final agency action under Bennett, because a lower level power administration’s decision to
     trigger a rate proceeding was “subsumed” into a final rate determination by the final rate determination made by
28   FERC. Id.
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 1   reviewable by this Court under the APA.

 2                             b        The Directive was Arbitrary and Capricious.

 3           The APA requires reviewing courts to set aside arbitrary and capricious final agency

 4   actions. 5 U.S.C. § 706(2)(A). Here, the State Department’s Directive is contrary to the IAA’s

 5   plain text. As COA explained, 22 C.F.R. § 96.63(c) allows accrediting entities to defer

 6   accreditation renewal applications beyond the accreditations’ expiration dates. COA Resp. at

 7   2-3, 5. In fact, consistent with Section 96.63(c), COA has on eight separate occasions deferred

 8   and processed reaccreditation applications beyond the original accreditation expiration dates.

 9   COA Resp. at 2-3; Schmidt Decl. ¶ 5. Despite the State Department’s protestations otherwise,

10   it was aware of these deferrals and this practice and it never objected. Id. ¶ 6.

11           Instead of adhering to the historical practice and clear tenets of Section 96.63 relating

12   to deferral, the State Department relies on other provisions of the IAA and its implementing

13   regulations, none of which prohibits an accrediting entity (COA) from deferring decisions of

14   renewal applications beyond the accreditation expiration date. For example, the State

15   Department argues that 22 C.F.R. §§ 96.7 and 96.60 require accrediting entities to complete

16   the decision-making process on renewal applications before an accreditation period ends. But

17   those provisions concern only the length of the accreditation period itself, not COA’s ability to

18   decide a renewal application beyond the accreditation period. See, e.g., 22 C.F.R. § 96.60.

19   Specifically, Section 96.60 only (1) describes the length of an accreditation cycle and (2)

20   provided for a one-time extension of accreditation to many accredited agencies to avoid a

21   flood of applications coming due together and risking large losses of accreditation. See id.

22   Section 96.60 does not negate COA’s application of 22 C.F.R. § 96.63(c), which provides it

23   discretion to defer a renewal application decision beyond an accreditation expiration.4

24           Ignoring the applicable regulations and the historical practices is the hallmark of

25   arbitrary and capricious agency action. Accordingly, the State Department’s Directive was an

26   4
      The inevitable conclusion of the State Department’s logic – that other provisions rebut COA’s understanding of
27   Section 96.63(c) – would mean that the accreditations of eight other adoption agencies whose renewal
     applications were decided after their accreditations expired would not have valid accreditations now. The State
28   Department nowhere addressed that issue before, upon, or after issuing the Directive.
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 1   arbitrary and capricious final agency action under the APA, and Plaintiffs are likely to succeed

 2   on the merits of this APA claim.

 3                              c        The Directive required a rulemaking but none occurred.

 4            In their motion, Plaintiffs described what agency interpretations are substantive rules,

 5   as opposed to interpretive rules, and explained why the Directive was a substantive rule. Mot.

 6   (Dkt. # 20) at 16. Substantive rules require a rulemaking, but the State Department’s Directive

 7   was not issued following required rulemaking procedures. See id. at 16-18. The State

 8   Department nowhere addresses this issue except, again, by disclaiming any agency action on

 9   its part and ascribing all agency action to COA, which COA expressly denies.5 See COA Resp.

10   at 5-6; Schmidt Decl. Accordingly, if the Court concludes that the State Department’s

11   Directive is a final agency action here then, in order to be effective, that action was a rule that

12   needed to follow rulemaking procedures but did not. Cf. COA Resp. at 4. Plaintiffs are likely

13   to succeed on the merits of this APA claim.

14                     2        The State Department’s Directive violates the IAA.

15                              a        The Directive was an Unlawful Cancellation or Debarment
                                         and is subject to Review.
16
              The IAA allows the State Department to take specific actions that are reviewable under
17
     that statute. Among those actions are “cancellations” and “debarments” of an accredited
18
     agency’s Hague accreditation. 42 U.S.C. § 14924(b), (c). Cancellations terminate an accredited
19
     agency’s accreditation, and debarments prevent an accredited agency from seeking
20
     accreditation for a period of time. See id. The IAA provides for judicial review of both. Id.
21
     § 14924(d) (“an agency . . . who is the subject of a final action of . . . cancellation, or
22
     debarment” may seek judicial review of that action).
23
              The only IAA-authorized final action that the State Department’s Directive could be,
24
     given its ultimate effect of preventing COA completing its consideration of Plaintiffs’ renewal
25
     5
26     The State Department also insists that its Directive was not a “rulemaking,” because it has already promulgated
     regulations under the IAA. See Opp’n at 15. But that argument says nothing about whether the State
27   Department’s Directive was a rule that required a rulemaking. Mot. at 16-18. Instead, as shown above, the State
     Department relies entirely on the intermediate conclusion that the State Department’s interpretation and directive
28   was not a final agency action. See Opp’n at 15.
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 1   applications, would have been a cancellation or debarment. See Mot. at 11-12. No other final

 2   action that the IAA allows the State Department to take under that statute fits. See id.

 3   Accordingly, the IAA provides an adequate judicial remedy only if the Directive qualifies as a

 4   cancellation or debarment,6 and as Plaintiffs explained in their opening brief, the State

 5   Department failed to follow the IAA’s procedures for issuing either a cancellation or

 6   debarment. Mot. at 11-12.

 7                              b        The Directive was Not a Refusal to Renew.

 8            The State Department’s argument that COA refused to renew Plaintiffs’ applications is

 9   unsupported. See, e.g., Opp’n at 7-8. COA is not currently processing Plaintiffs’ applications

10   because the State Department’s Directive forbids it, not because COA has refused to renew.

11   See COA Resp. at 4; Schmidt Decl. ¶ 12. COA never intended to nor did it refuse to renew

12   Plaintiffs’ applications; instead, it deferred their applications for decision under 22 C.F.R.

13   § 96.63(c). See COA Resp. at 2; Schmidt Decl. ¶¶ 9-11. Even if COA wanted to issue a refusal

14   to renew, the State Department’s Directive prevented it from making such a decision: “COA

15   may no longer continue to review or make any decision in relation to [Plaintiffs’]

16   accreditation application[s].” Schmidt Decl., Ex. C (emphasis added). Indeed, the only barrier

17   to completing review of Plaintiffs’ applications – the State Department’s Directive – bears

18   none of the features of a refusal to renew. See id. ¶ 12 (describing COA’s process for issuing

19   refusals to renew and COA’s ability to retract refusals to renew). The State Department’s

20   tortured textual analysis does not convert its Directive into a COA-rendered “refusal to renew”

21   under the IAA.

22            Because the State Department’s Directive is either a final agency action reviewable

23
     6
24     If, however, the Court concludes that the State Department’s Directive was neither a cancellation nor a
     debarment, then the IAA does not provide an adequate judicial remedy, and the APA’s presumption of
25   reviewability is triggered where, as here, the State Department has muddied the water as to what kind of final
     agency action was taken. Specifically, the APA’s judicial review provisions supply a “strong presumption that
26   Congress intends judicial review of administrative action.” Bowen v. Michigan Acad. of Family Physicians, 476
     U.S. 667, 670 (1986). That presumption is not rebutted “unless there is persuasive reason to believe that such was
27   the purpose of Congress.” Id. Here, the Directive is subject to the presumption of reviewability, and the State
     Department has supplied no congressional intent otherwise. And as explained above, see supra Sections A.1.b &
28   c, the Directive was arbitrary and capricious and a rule for which no rulemaking was conducted.
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 1   under the APA or a cancellation or debarment under the IAA, it can be challenged under both

 2   statutes. And because Plaintiffs have shown that the Directive violates both statutes and the

 3   State Department failed to follow required procedures under either statute, Plaintiffs’ claims

 4   are likely to succeed on the merits.

 5            B        The State Department’s Directive Has Caused and Will Likely Continue to
                       Cause Irreparable Harm to Plaintiffs; the Balance of the Equities and
 6                     Public Interest Require Immediate Relief.

 7                     1        Plaintiffs Have Shown They Will Likely Suffer Irreparable Harm.

 8            Plaintiffs have shown that each of the irreparable harms they allege is cognizable under

 9   the law and is established in fact. The State Department’s assertion that the Ninth Circuit has

10   not recognized that harm to organizational missions can be irreparable harm, see Opp’n at 18-

11   19, is simply incorrect: “[T]he organizational plaintiffs have shown ongoing harms to their

12   organizational missions . . . [t]hus, the plaintiffs have established a likelihood of irreparable

13   harm.” Valle del Sol Inc. v. Whiting, 732 F.3d 1006, 1029 (9th Cir. 2013). The State

14   Department does not dispute the factual statements which underlie Plaintiffs’ assertions of

15   harm to their organizational missions. Accordingly, this irreparable harm is established.

16            The State Department’s suggestion that reputational harm can only be established with

17   concrete evidence of many individual opinions on reputation should not apply here. See Opp’n

18   at 20 n.13. Unlike the reputational harms involving goodwill that the State Department cites

19   for support, see id., Plaintiffs lost their accreditation in a way not easily remedied.

20   Accreditations are, by definition, evidence of placement “into a reputable or outstanding

21   category” and official recognition “as bona fide, approved, or in conformity with a standard.”

22   Webster’s Third New International Dictionary (2002). Having one’s reputational status refused

23   for renewal after having received it in the first instance surely constitutes irreparable harm to

24   one’s reputation,7 unless remedied quickly with a retraction or correction, which COA stands

25   7
      A similar principle runs throughout the per se harm-related authorities that Plaintiffs cited in their opening brief.
26   Mot. at 19-20. Particularly, Lincoln Memorial University Duncan School of Law v. American Bar Ass’n, No.
     3:11-cv-608, 2012 WL 1108125, at *7 (E.D. Tenn. Apr. 2, 2012) makes a compelling case for finding per se
27   harm when loss of accreditation is at issue. Although the State Department expresses doctrinal differences with
     other federal courts, Opp’n at 19-20, Lincoln Memorial, like any non-controlling authority, can be cited as
28   persuasive authority, and courts cite out-of-circuit authorities with approval in cases like this one where those
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 1   ready to provide if this Court reverses the State Department’s Directive. Schmidt Decl. ¶ 9

 2   (stating that COA was “fully prepared” to complete review of Plaintiffs’ applications).

 3           Perhaps the most serious of irreparable harms are those which jeopardize Plaintiffs’

 4   existence in the future. The financial losses shown in Plaintiffs’ initial declarations, which the

 5   State Department does not contest factually, are not provided for purposes of damages

 6   recovery in this action, as the State Department suggests. See Opp’n at 18. Rather, they

 7   support a showing that Plaintiffs’ entire existence and ability to execute their missions are in

 8   danger, given the significant loss of revenue compared to the costs of remaining open without

 9   those revenues. See Mot. at 18-19. The State Department nowhere challenges the idea that risk

10   to an organization’s existence can constitute irreparable harm. Thus, Plaintiffs have established

11   this irreparable harm as well.

12           Nor is Plaintiffs’ harm self-inflicted. It is simply indisputable that the harm Plaintiffs

13   have suffered resulted solely from the issuance of the Directive, and the Directive’s binding

14   language – “COA may no longer continue to review or make any decision in relation to

15   [Plaintiffs’] accreditation application[s],” Schmidt Decl., Ex. C at 1 – which prevented COA

16   from continuing to process Plaintiffs’ accreditation renewal applications. Id. ¶ 11. Starting the

17   process anew with a new accrediting agency (and one under investigation) was not a viable

18   option. Amicus Br. (Dkt. # 32-1) at 4. The record shows that IAAME could not complete

19   review of Plaintiffs’ applications before Plaintiffs would cease to exist, Meske Decl. (Dkt. #

20   21), ¶ 22; Amicus Br. at 4, even if it were willing to resume processing Plaintiffs’ applications

21   as renewals, which it is not. Meske Decl. ¶ 22. Indeed, the State Department’s brief suggests

22   that IAAME is incapable of completing Plaintiffs’ applications until the beginning of 2019, at

23   the earliest, with the stated need to process applications of those agencies whose accreditations

24   will expire in 2019. Opp’n at 17. Accordingly, Plaintiffs did not inflict irreparable harm on

25   themselves by not pursuing accreditation through IAAME; rather, by bringing this suit, they

26

27   authorities’ principles “make sense.” United States v. Jones, 260 B.R. 415, 419 (E.D. Mich. 2000). Here, the
     Lincoln Memorial decision makes sense, because a loss of previously granted accreditation leaves a stain that
28   cannot be easily erased.
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 1   have sought to preserve their existence and minimize irreparable harm that the State

 2   Department’s Directive has caused them.

 3                     2        The Public Interest Requires Injunctive Relief Here.

 4             The public interest favors granting Plaintiffs’ motion for a preliminary injunction. The

 5   State Department correctly states that the public interest inquiry primarily addresses the impact

 6   on non-parties rather than parties. Opp’n at 21 (quoting Bernhardt v. Los Angeles Cty., 339

 7   F.3d 920, 931 (9th Cir. 2003)). Some non-parties – the Garretts and Tutterrows – have suffered

 8   because of the State Department’s illegal action and have submitted declarations to this effect

 9   in support of Plaintiffs’ motion. (Dkt. #s 24 & 25). Other non-parties have weighed in to

10   explain that, for example, existential threats to adoption agencies can cause adoption records to

11   be lost and non-adoption counseling services to end for clients. Amicus Br. at 9-10.

12             These harms to non-parties demonstrate that the State Department’s Directive frustrates

13   the public interest more broadly by frustrating the IAA’s purpose of “assist[ing] United States

14   citizens seeking to adopt children from abroad.”8 42 U.S.C. § 14901(b)(3). But the State

15   Department nowhere addresses this except to rank the public interest in safe and ethical

16   adoptions above the public interest in making those adoptions available at all. Opp’n at 22.

17   The State Department’s Directive, however, does not advance the former public interest,

18   either.

19             Specifically, the State Department contends that its Directive promotes safer and more

20   ethical international adoptions, because giving accredited agencies “indefinite” time to show

21   they comply with the Hague adoption standards “undercut[s]” those purposes of the IAA.

22   Opp’n at 21-22. Yet, the State Department presents no evidence that these principles would be

23   served here, because the State Department – correctly so – does not cite Plaintiffs as examples

24   of troublesome or unethical agencies. Compare id. at 22; Olson Decl. (Dkt. No. 51-1), ¶ 7.

25   Regardless of how long an accrediting entity might defer an adoption agency’s accreditation

26   8
       A policy of allowing fewer, not more, agencies to finish showing accrediting entities that they are capable and
27   willing to perform international adoptions can only serve to reduce the assistance to United States citizens who
     seek to adopt abroad. See Amicus Br. at 4 (explaining that the State Department has sought to implement
28   international adoption reform through maneuvers such as the one subject to this action).
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 1   renewal application, accrediting entities presumably would follow the law and grant

 2   reaccreditation only to those agencies that meet the accreditation standards. That’s precisely

 3   what COA did when it renewed Hague accreditations to 7 of 8 agencies after their

 4   accreditations expired. Schmidt Decl. ¶ 5. Indeed, taking longer to process accreditation

 5   applications, if necessary, ensures rigorous review of those applications, which in turn

 6   promotes safe and ethical adoptions by well-vetted adoption agencies. And, of course,

 7   Plaintiffs are not asking that they be immediately reaccredited without further review; they

 8   seek only to have their applications fairly and completely considered.

 9                  3       The Balance of the Equities Tips in Favor of Granting the Motion.

10          Finally, as Plaintiffs explained in their opening brief, the harms to them and the public

11   far outweigh any harm to the State Department. See Mot. at 20. Indeed, one struggles to

12   conceive what harm the State Department might experience if COA completes processing

13   Plaintiffs’ applications. And, aside from its unavailing contention that the public interest

14   weighs against an injunction, the State Department failed to explain how it could be harmed by

15   rescinding its Directive. Opp’n at 21-24. Accordingly, the public interest and the balance of

16   the equities tip sharply in favor of granting Plaintiffs’ motion.
                                                Conclusion
17
            The Court should grant Plaintiffs’ motion for a preliminary injunction so that COA
18
     may resume processing Plaintiffs’ accreditation renewal applications where it left off.
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 1   DATED this 17th day of August, 2018
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 2                                    CERTIFICATE OF SERVICE

 3           I hereby certify that on the date below, I caused the foregoing document to be

 4   electronically filed with the Clerk of the Court using the CM/ECF system which will send

 5   notification of the filing to all counsel of record.

 6

 7   DATED: August 17, 2018                          ORRICK, HERRINGTON & SUTCLIFFE LLP

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